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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO
SEXUALITY AND GENDER ALLIANCE,                 Case No. 1:23-cv-00315-DCN

                   Plaintiff,                  DECLARATION OF JANE DOE

       v.

DEBBIE CRITCHFIELD, et al.,

                  Defendants.




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       I, Jane Doe, hereby declare as follows:

       1.      I offer this declaration in support of Plaintiff’s motion for preliminary injunction.

I have personal knowledge of the facts set forth in this declaration and could and would testify

competently to those facts if called as a witness. I have used a pseudonym to protect my identity.

       2.      I am a 16-year-old girl. I attend Boise High School and will be in eleventh grade

during the 2025-26 academic year. I am also a member of the Sexuality and Gender Alliance

(SAGA) at Boise High School. SAGA is a student organization focused on supporting, uplifting,

and representing lesbian, gay, bisexual, transgender, and queer students at Boise High School.

       3.      I was born in Boise and have lived here my entire life with my parents. I have an

older brother who is now in college and similarly attended Boise School District. My mom also

works as a public school teacher in the Boise area.

       4.      I enjoy writing, including poetry in particular, video games, and computer

science. I have thought about majoring in college in data science or psychology, which is

another subject that I find interesting. I am also good at math (although I don’t necessarily love

it).

       5.      I am transgender. I came to better understand myself, and my female gender

identity, around the summer between eighth and ninth grade. This was also around the time

when puberty started and I was giving more thought to who I am. I gradually tried expressing

myself in more feminine ways, including, for instance, by wearing ribbons in my hair, and I

found that doing so made me feel better. I knew that the process of transitioning to live openly

as a girl would not be easy to do; but I also knew that living as myself would be worth it.

       6.      I was worried about coming out to my parents. But, during ninth grade, I felt

comfortable enough to take that step, and I was relieved to find that they were supportive of me.




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My brother has also been supportive of me as well.

       7.      I switched junior high schools within Boise School District between eighth and

ninth grade. That gave me the opportunity to have a fresh start with peers.

       8.      As part of my transition, I began using a female-typical first name. My parents

completed a form with Boise High School so that this name is reflected in my school records,

and I have legally changed my name. I also currently have long hair.

       9.      Other students at Boise High School have been generally respectful of my gender

and use female pronouns for me.

       10.     My state identification, the Idaho Star Card, reflects my female gender identity.

       11.     I have also received gender-affirming hormone therapy, which has made my

appearance more feminine. That medical care, along with living as female and being treated as

female, has helped to reduce the distress from the disconnect between my female gender identity

and the male sex I was assigned at birth. It’s hard to describe how that distress feels to someone

who hasn’t experienced it, but I’ve sometimes compared it to how it might feel if you saw

spiders crawling all over your body.

       12.     I want to be able to use the girls’ restroom at school like other girls. During ninth

grade in junior high, when I was early in my transition, I would try to avoid using the restroom at

school altogether. I would generally use the restroom before school, not go the restroom for the

entire school day, and then use the restroom again after school when I got home. I trained

myself to “hold it,” although I am also on a medication with the side effect that it makes me need

to go to the restroom more often. On the rare occasion when I had no choice but to use the

restroom at school, I used the boys’ restroom—and it was a terrible experience. I waited for

what felt like forever until I was sure that no one was around so that I could enter the restroom




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without anyone seeing me. It was scary, and using the boys’ restroom also made me feel

dysphoric.

       13.     During tenth grade at Boise High School, I would sometimes use a gender-neutral

restroom on campus, which included the nurse’s restroom and the family restroom in one

building that required a specially coded ID for access. Having to always rely on these facilities

can make me late for class because they are further away, however, and it also marks me as

transgender, which can feel alienating, like I’m an outsider. While I am transgender, I don’t

view it as the defining feature of who I am as a person. I just want to fit in. It is upsetting to

think that I may have to go through the rest of high school without access to something as basic

as the ability to use the same restroom as everyone else. I am also concerned about losing

control over my private information about being transgender, as a result of not being treated the

same as other girls.

       14.     Particularly at this point in my transition, as my gender expression is increasingly

feminine, it would be dangerous and scary for me to use the boys’ restroom. It is not an option

for me. I worry that I would experience harassment at a minimum, and possibly worse. I think

boys would not feel comfortable sharing the restroom with someone who lives as a girl, and it

would be surprising and disruptive for them if a transgender girl were to use the boys’ restroom.

       15.     All of the multi-user restrooms at Boise High School have individual stalls to my

knowledge. If I had access to the girls’ restroom, I would naturally use an individual stall as

well. Whenever I use any public restroom, I get in and get out as quickly as possible. I would

also never expose myself to others while using a restroom (which would worsen the distress of

gender dysphoria); I would take care of my private business in the stall and leave. And because

other girls in the restroom similarly use stalls, I would not be exposed to their bodies either.




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